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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
                                        NOTICE OF DOCUMENT DISCREPANCIES

    ✔ U.S. District Judge / G U.S. Magistrate Judge Otis D. Wright, II
To: G
From: S. English                                             , Deputy Clerk             Date Received: July 21, 2022
Case No.: CR 20-00322-ODW                            Case Title: USA v. Ramon Olorunwa Abbas
Document Entitled: MOTION COMPASSIONATE RELEASE


Upon the submission of the attached document(s), it was noted that the following discrepancies exist:
                  G Local Rule 5-4.1       Documents must be filed electronically
                  G Local Rule 6-1         Written notice of motion lacking or timeliness of notice incorrect
                  G Local Rule 7-19.1      Notice to other parties of ex parte application lacking
                  G Local Rule 7.1-1       No Certification of Interested Parties and/or no copies
                  G Local Rule 11-3.1      Document not legible
                  G Local Rule 11-3.8      Lacking name, address, phone, facsimile numbers, and e-mail address
                  G Local Rule 11-4.1      No copy provided for judge
                  G Local Rule 11-6        Memorandum/brief exceeds 25 pages
                  G Local Rule 11-8        Memorandum/brief exceeding 10 pages shall contain table of contents
                  G Local Rule 15-1        Proposed amended pleading not under separate cover
                  G Local Rule 16-7        Pretrial conference order not signed by all counsel
                  G Local Rule 19-1        Complaint/Petition includes more than 10 Does or fictitiously named parties
                  G Local Rule 56-1        Statement of uncontroverted facts and/or proposed judgment lacking
                  G Local Rule 56-2        Statement of genuine disputes of material fact lacking
                  G
                  ✔ Local Rule 83-2.5      No letters to the judge
                  G Fed. R. Civ. P. 5      No proof of service attached to document(s)
                  G Other: ALL correspondence must be e-filed by your appointed counsel until you file the correct
                  ✔

                             paperwork to represent yourself. Defendant has not been sentenced yet.

  Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.

                                       ORDER OF THE JUDGE/MAGISTRATE JUDGE
IT IS HEREBY ORDERED:

G The document is to be filed and processed. The filing date is ORDERED to be the date the document was stamped
  “received but not filed” with the Clerk. Counsel* is advised that any further failure to comply with the Local Rules may
  lead to penalties pursuant to Local Rule 83-7.


     Date                                                    U.S. District Judge xxxxxxxxxxxxxxxx
                                                                                 / U.S. Magistrate Judge

G
✔ The document is NOT to be filed, but instead  ead REJECTED,
                                                    REJECTCT  E , and is ORDERED returned
                                                            TED                               d to counsel.* Counsel*
                                                                                                             Co       shall
  immediately notify, in writing, all parties previously
                                                 viously served with
                                                                wiith
                                                                w  t thehe attached documents
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                                                                                    documeent  tha said documents
                                                                                                hat     documen have not
  been filed with the Court.
    August 2 , 2022
    Date                                                     U.S. District
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                                                                        i t Judge
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                                                                              d e / U.S.
                                                                                    U.S.
                                                                                    U.S. Magistrate
                                                                                         Mag
                                                                                          aggiisstrate Judge
* The term “counsel” as used herein also includes any pro se party. See Local Rule 1-3.
                                                                                   1-3
                                                                                    -3.
        COPY 1 -ORIGINAL-OFFICE         COPY 2 -JUDGE     COPY 3 -SIGNED & RETURNED
                                                                                 ED
                                                                                  D TO FILER          COPY 4 -FILER RECEIP
                                                                                                                    RECEIPT

CV-104A (06/13)                              NOTICE OF DOCUMENT DISCREPANCIES
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